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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


 DONALD H. AYERS,

         Petitioner,                                  Civ. No. 2:13-cv-892
                                                      Crim. No. 2:06-cr-129(3)
         v.                                           Judge Marbley
                                                      Magistrate Judge King
 UNITED STATES OF AMERICA,

         Respondent.

                                              ORDER


         This is an action under 28 U.S.C. § 2255 to vacate Petitioner's convictions and sentences

 on charges of securities fraud, conspiracy to commit securities fraud and wire fraud, and

 conspiracy to commit money laundering. On July 14,2015, the Magistrate Judge recommended

 that Respondent's Answer and Motion to Dismiss, ECF No. 1282, be granted and that this action

 be dismissed. Report and Recommendation, ECF No. 1345. Petitioner objects to that

 recommendation. Objection, ECF No. 1349. Pursuant to 28 U.S.C.§ 636(b) and Rule 72(b) of the

 Federal Rules of Civil Procedure, this Court has conducted a de novo review. For the reasons

 that follow, Petitioner's Objection, ECF No. 1349, is OVERRULED. The Report and

 Recommendation, ECF No. 1345, is ADOPTED and AFFIRMED. This action is hereby

 DISMISSED.


         Petitioner, who is proceeding without the assistance of counsel, asks that the Court

 liberally construe his pleadings pursuant to Haines v. Kerner, 404 U.S. 519,520-21

 (1972)(Pleadings ofpro se prisoners will be held to a less stringent standard). The Court does so

 here.
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        Petitioner claims that he was denied the effective assistance of counsel because his

 attorney failed to disclose a plea opportunity, failed to present an adequate defense based on

 good faith reliance, failed to investigate the defense expert prior to calling him as a defense

 witness, failed to investigate the government's loss figures, and failed to "preserve new rule."

 Petitioner also asserts that he was denied a fair trial because of prosecutorial misconduct and

 alleges that his sentence was unconstitutionally imposed. He also argues that he is actually

 innocent of the charges against him. The Magistrate Judge concluded that Petitioner's claims are

 without merit; Petitioner objects to that conclusion and reasserts each of his claims.

        Upon careful consideration of the entire record, and for the reasons stated in the Report

 and Recommendation, this Court is not persuaded that Petitioner has established any basis for

 habeas corpus relief. Petitioner's Objection, ECF No. 1349, is therefore OVERRULED. The

 Report and Recommendation, ECF No. 1345, is ADOPTED and AFFIRMED. Respondent's

 Answer and Motion to Dismiss, ECF No. 1282, is GRANTED.

        This action is hereby DISMISSED.

        The Clerk is DIRECTED to enter FINAL JUDGMENT.
